Case 2:09-md-02047-EEF-MBN Document 428-8 Filed 11/10/09 Page 1 of 2

IN THE UNITED STATE DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

TIMOTHY PERRY AND
TRACEY PERREY

MDL DOCKET NO. 2047

PLAINTIFFS
Judge Eldon E. Fallon

Vv.

KNAUF GIPS KG;

KNAUF PLASTERBOARD

TIANJIN COMPANY, LTD

SUN CONSTRUCTION, LLC

SUNRISE CONSTRUCTION, LLC

FICTITIOUS DEFENDANTS A-Z
DEFENDANTS

Magistrate Judge Joseph C. Wilkerson, Jr.

Section L

e+ *¢ & HF Hh HH KH HH HW HE HH HR

Case No. 2:09¢ev5500 L/2
AFFIDAVIT OF NATALIE CULPEPER
STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, the undersigned notary, personally came and appeared:
NATALIE CULPEPER
who, after being duly sworn, did depose and state:

1. She is the Director of Operations of Sun Construction, LLC;
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2. Exhibits 1, 2 and 3 attached to the memorandum in support of Sun Construction’s

Motion for Summary judgment are true and correct copies of the purchase and

warranty agreements signed by Plaintiffs.

SWORN TO AND SUBSCRIBED
BEFORE ME ON THE 10" DAY

OF NO 09. a

Signed:

Print Name: SoyG. Najoli§ S
Notary/Bar Number: 67710 ~
My Commission expires: Lifetime

we Culpeper
